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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Hearing Date: December 12, 2024 at 1:00 p.m. (ET)
                                                              Obj. Deadline: October 3, 2024 at 4:00 p.m. (ET)


    SEVENTH INTERIM FEE APPLICATION OF ALVAREZ & MARSAL NORTH AMERICA, LLC

Name of Applicant                                           Alvarez & Marsal North America, LLC
Authorized to Provide Professional Services to:             Debtors and Debtors-in-Possession
Date of Retention:                                          January 19, 2023 nunc pro tunc to November
                                                            11, 2022
Period for which compensation and                           May 1, 2024 through July 31, 2024
reimbursement is sought:
Amount of interim fees to be approved as,                   $40,797,431.00
reasonable and necessary:
Amount of interim expenses sought as actual,                $905,873.04
reasonable and necessary:
Total compensation paid to date:                            $219,960,515.90
Total expenses paid to date:                                $6,265,772.14
Blended rate in this Application for all                    $729.95
timekeepers
Number of professionals included in this                    209
Application
Number of professionals billing fewer                       21
than 15 hours to this Application
during this period

This is a(n) ____ monthly              x      interim      _____ final application
1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288
     and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
     the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
     complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda



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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

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    SEVENTH INTERIM FEE APPLICATION OF ALVAREZ & MARSAL NORTH AMERICA, LLC

                     Alvarez & Marsal North America, LLC (“A&M”), financial advisors to FTX

Trading Ltd. and its affiliated debtors and debtors-in-possession in the above-captioned cases

(collectively, the “Debtors”), hereby submits this Seventh Interim Fee Application of Alvarez &

Marsal North America, LLC (the “Application”) for allowance of compensation for professional

services rendered and reimbursement of expenses incurred for the period from May 1, 2024

through and including July 31, 2024 (the “Application Period”). In support of the Application,

A&M respectfully states as follows:

                                                  Background

                     1.    On November 11 and November 14, 2022, 2 the Debtors filed with the

United States Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for

relief under title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended or modified,

the “Bankruptcy Code”). The Debtors continue to operate their businesses and manage their


1
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     and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
     the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
     complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda

2
     November 11, 2022 is the petition date for all Debtors, except for Debtor West Realm Shires Inc.



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properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. Joint administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the

Court by entry of an order on November 22, 2022 [D.I. 128]. On December 15, 2022, the Office

of the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an

Official Committee of Unsecured Creditors (the “Committee”) pursuant to section 1102 of the

Bankruptcy Code [D.I. 231].

                     2.   On January 9, 2023, the Court entered the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the

“Interim Compensation Order”).

                     3.   On January 19, 2023, the Court entered the Order Authorizing the

Retention and Employment of Alvarez & Marsal North America, LLC as Financial Advisors to

the Debtors and Debtors-in-Possession Pursuant to Sections 327(a) and 328 of the Bankruptcy

Code [D.I. 534], authorizing the retention and employment of A&M as the Debtors’ financial

advisors, nunc pro tunc to November 11, 2022.

                     4.   On March 8, 2023, the Court entered the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses [D.I.834] appointing Katherine Stadler (the “Fee Examiner”) to

serve as the fee examiner in these Chapter 11 Cases and establishing certain procedures in

connection therewith.

                                              Jurisdiction

                     5.   The Court has jurisdiction to consider this Application pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012. This matter is a core


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proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28

U.S.C. §§ 1408 and 1409. Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of

a final order or judgment by the Court in connection with this Motion to the extent it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

                                          Relief Requested

                     6.   By this Application and in accordance with the Interim Compensation

Order, A&M seeks interim approval and allowance of its compensation for professional services

rendered and reimbursement of expenses incurred for the Application Period (the “Period

Compensation”), including authorization for the Debtors to pay the 20% holdback of fees as

provided under the Interim Compensation Order (the “Holdback”). A&M has filed and served

monthly fee applications covering the Application Period (collectively, the “Monthly Fee

Applications”). Each of the Monthly Fee Applications is incorporated by reference as if fully set

forth herein. For the avoidance of doubt, by this Application, A&M is seeking only allowance of

the Period Compensation previously set forth in the Monthly Fee Applications and payment of

the Holdback. Other than the Holdback, A&M is not requesting additional fees or expense

reimbursement above the Period Compensation.

                     7.   In accordance with the United States Trustee’s Guidelines For Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 for

Attorneys in Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”), this Application is

supported by the following exhibits:

                     •    Exhibit A: a summary of compensation by each professional of A&M
                          that worked on the Chapter 11 Cases;

                     •    Exhibit B: a summary of compensation by project category;

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                     •     Exhibit C: an expense summary;

                     •     Exhibit D: the Certification of Edgar W. Mosley II in support of the
                           Application.

                                       Compensation Requested

                     8.    A&M seeks interim allowance of fees in the amount of $40,797,431.00 for

services rendered during the Application Period and $905,873.04 of related expenses, which

were incurred during the Application Period. In addition, A&M requests that the Debtors be

authorized to pay the $8,159,486.20 in fees representing the twenty percent (20%) “holdback” of

fees.

                     9.    The services performed by A&M during the Application Period included,

among others: (i) filing Solicitation Version of Disclosure Statement and Plan of Reorganization

with exhibits, (ii) ordering Japan KK sale and dismissal after repatriation of $68M in

intercompany claims, (iii) monetizing various equity and crypto positions, (iv) negotiating IRS

federal tax settlement, (v) receiving Genesis Settlement payment of $175M, (vi) supporting

negotiations with certain governmental creditors, (vii) management of approximately $10.2

billion in cash belonging to the Estate, (viii) assessing the impact on claim valuations for tokens

subject to the Estimation ruling, (ix) assisting with administering solicitation data analysis

throughout the voting period, and (x) identification of avoidance actions among insiders and

related parties, (xi) monetizing the remaining sale of Anthropic shares.

                                                  Notice

                     10.   Notice of this Application has been provided to: (a) the U.S. Trustee; (b)

the Committee; (c) the Fee Examiner and (d) all parties required to be given notice in the Interim

Compensation Order. A&M submits that, in light of the nature of the relief requested, no other


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or further notice need be provided.

                                              Conclusion

                     WHEREFORE, A&M respectfully requests that the Court (i) approve the

Application and (ii) grant such further relief as is just and proper.




Respectfully,

Alvarez & Marsal North America, LLC



By:      /s/ Edgar W. Mosley
         Edgar W. Mosley II
         Title: Managing Director




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